
TATE, J.,
concurs. The trier of fact here found that the present disability stems from a trauma completely independent of the initial work-injury and not causally related to it. The trial judge thus rejected the plaintiff’s factual contention that the later trauma resulted in a compensable aggravation into disability of a latent residual of the initial work-injury, i. e., a predisposition to re-injury or recurrence of the back disability due to a weakening or predisposition which resulted from the initial work-accident. I am unable to find manifest error in the trial court’s resolution of the facts of this case, even though conceding that the medical opinions’ failure to find a compensable predisposition to reinjury contrary to that established by the medical testimony in the decisions relied upon by the plaintiff.
